     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 1 of 29
                                                                                            January 18, 2018 - 1

 1                                    UNITED STATES DISTRICT COURT

 2                         WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 3    ________________________________________________________________
                                        )
 4     UNITED STATES OF AMERICA,        ) CR17-00135-TSZ
                                        )
 5                      Plaintiff,      ) SEATTLE, WASHINGTON
                                        )
 6     v.                               ) January 18, 2018
                                        )
 7     STEVEN THOMPSON,                 ) Sentencing Hearing -
                                        ) Redacted
 8                      Defendant.      )
                                        )
 9    ________________________________________________________________

10                      VERBATIM REPORT OF PROCEEDINGS
                     BEFORE THE HONORABLE THOMAS S. ZILLY
11                       UNITED STATES DISTRICT JUDGE
      ________________________________________________________________
12

13

14     APPEARANCES:

15     For the Plaintiff:                          Catherine L. Crisham
                                                   U.S. Attorney's Office
16                                                 700 Stewart Street
                                                   Suite 5220
17                                                 Seattle, WA 98101

18

19     For the Defendant:                          Michael C. Nance
                                                   Law Offices of Michael C. Nance
20                                                 1001 Fourth Avenue
                                                   Suite 3200
21                                                 Seattle, WA 98154

22

23

24

25

               Proceedings stenographically reported and transcript produced with computer-aided technology

         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 2 of 29
                                                                                            January 18, 2018 - 2

 1                  THE COURT:            Good afternoon.                Ladies and gentlemen.

 2    Please be seated.

 3         The clerk will please call the next matter on the calendar.

 4                  THE CLERK:            Thank you, Your Honor.

 5         Case No. CR17-135, United States versus Steven Thompson.

 6                  MS. CRISHAM:              Good afternoon, Your Honor.                          Kate Crisham

 7    for the United States.

 8                  THE COURT:            Good afternoon again, counsel.

 9                  MR. NANCE:            Good afternoon, Your Honor.                          Michael Nance

10    for Steven Thompson, standing to my left.

11                  THE COURT:            All right.            Good afternoon.

12         Are the parties ready to proceed with sentencing?

13                  MS. CRISHAM:              Yes, Your Honor.

14                  MR. NANCE:            Yes, Your Honor.

15                  THE COURT:            Did the defendant receive the presentence

16    report and the sentencing recommendations of probation?

17                  MR. NANCE:            Yes, Your Honor.

18                  THE COURT:            All right.            In addition, I have reviewed the

19    release status report dated January 9, pretrial services report,

20    Docket 35, the plea agreement, the government's sentencing memo,

21    the defendant's sentencing memo, and a supplemental exhibit to

22    the defense sentencing memo, a letter, Docket 252, filed under

23    seal.

24         And earlier today I granted the motion to seal that was

25    pending in this proceeding, and sealed, I think, the government's



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 3 of 29
                                                                                            January 18, 2018 - 3

 1    memo and the defense memo.

 2                  MR. NANCE:            Your Honor, there were two supplements for

 3    which --

 4                  THE COURT:            Yes.       And I just referred to two

 5    supplements.           I read them both.

 6         They are, again for the record, a supplementary exhibit,

 7    Docket 252-1, and -- I'm sorry, I didn't refer to it -- a letter

 8    from the brother, which is filed as 254, which I did review.

 9    It's called a "Second Supplementary Exhibit."

10         All right.            Are there any factual disputes to the facts

11    stated in the presentence report?

12                  MS. CRISHAM:              Not from the government, Your Honor.

13                  MR. NANCE:            Your Honor, we have a couple of matters that

14    we would like to make a record of.

15                  THE COURT:            So this relates to facts in the presentence

16    report; is that right?

17                  MR. NANCE:            Yes.       Yes.

18                  THE COURT:            All right.

19                  MR. NANCE:            Paragraph 15 --

20                  THE COURT:            Just a moment.

21         All right.

22                  MR. NANCE:

23

24

25



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 4 of 29
                                                                                            January 18, 2018 - 4

 1

 2                  THE COURT:            Were you present during the earlier

 3    sentencings?

 4                  MR. NANCE:            Yes.

 5                  THE COURT:            Okay.        Good.

 6                  MR. NANCE:            Yes.

 7                  THE COURT:            Because some of that was discussed earlier.

 8                  MR. NANCE:            Yes.       And I'll try to address some of it

 9    here.

10

11

12

13

14

15

16

17

18

19

20                  MR. NANCE:            That's what they say, yes.

21                  THE COURT:            That's what they say.

22                  MR. NANCE:            Yes.

23                  THE COURT:            All right.            Well, your objection to

24    paragraph 15 is noted for the record.                                I'm not going to change

25    it.



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 5 of 29
                                                                                            January 18, 2018 - 5

 1                  MR. NANCE:            All right.

 2         Then well into the report, paragraphs 93 through 95,

 3    "Financial Condition:                   Ability to Pay," I just want to make a

 4    brief comment that we don't think that a fine is appropriate in

 5    this case.

 6                  THE COURT:            And none was recommended by probation.

 7                  MR. NANCE:            Well, I thought they recommended 5,000.

 8                  THE COURT:            I don't think so.

 9         Well, they didn't recommend a fine.

10                  MR. NANCE:            Okay.        Well, I'm not going to argue with

11    that if they --

12                  THE COURT:            Is that right?

13                  MS. OLSEN:            Your Honor, there is the Justice for Victims

14    of Trafficking Act of 2015, and it's mandatory for all cases that

15    fall under this crime, under Chapter, I believe, 110 or 117.                                                    And

16    this criminal conviction falls under that chapter.

17         If the Court deems him indigent, then the Court may waive

18    that $5,000 fine.

19                  THE COURT:            So that's a little different than the fine.

20    And I didn't focus on that.                        I'm sorry.

21                  MR. NANCE:            I can just give you the one-minute overview

22    of his financial circumstances.                           They are not good.                  He had a

23    well-paying job at Microsoft, through Microsoft.                                         He was a

24    software -- correct me if I'm wrong here -- kind of a testing

25    engineer that he worked through contract.                                   He made good money



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 6 of 29
                                                                                            January 18, 2018 - 6

 1    there.      In fact, money was not the motivating factor here by any

 2    means in this case.                 But that's gone.

 3           One of the immediate collateral consequences was to lose his

 4    job.     He cashed out his IRA, and that's --

 5                  THE DEFENDANT:               401(k).

 6                  MR. NANCE:            His 401(k).             That's largely spent now.                           He

 7    lived on that for a bit.                     He's now making $14 an hour at Home

 8    Depot, struggling to pay bills each month.

 9           And so to the extent the Court has any discretion, I would

10    urge against the imposition of financial penalties here.                                               Those

11    are the main bones of contention we have with the presentence

12    report.

13           We agree with the calculation, the guideline calculation.                                                  We

14    agree with the recommendation, apart from the fine.

15                  THE COURT:            Well, reading the statement in

16    paragraph 104, it doesn't sound like I have any discretion.                                                     "The

17    court shall assess 5,000, per count, on any non-indigent person

18    convicted of an offense under the chapter."

19           Are you saying he's indigent?

20                  MR. NANCE:            Well, I guess it depends on how you define

21    it.    He certainly qualified for CJA appointment.                                       He didn't have

22    the money to hire private counsel.                             I'm court appointed, and have

23    been from day one.

24                  THE COURT:            All right.            Well, that's a question with

25    regard to sentencing as opposed to --



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 7 of 29
                                                                                            January 18, 2018 - 7

 1                  MR. NANCE:            I understand.

 2                  THE COURT:            All right.            So I'm going to adopt as facts

 3    the facts stated in the presentence report.                                     And with respect to

 4    the offense-level computations, I do not believe that this

 5    defendant should be given a minor role adjustment, and it would

 6    be my intent not to allow that and to, therefore, increase his

 7    adjusted offense level accordingly.

 8         Do you wish to be heard on that, Mr. Nance?

 9                  MR. NANCE:            Yes.

10                  THE COURT:            All right.

11                  MR. NANCE:            We, naturally, agree with probation on this,

12    that when compared to the other co-conspirators in the case, that

13    his culpability is less than average.                                Mr. Thompson did not

14    recruit anyone to this conspiracy.                             He did not manage these

15    women.      He didn't manage any co-conspirators.                                  He did not

16    advertise their services.                      He had zero dealings with

17    Backpage.com.            He had no dealings with any customers of these

18    women.      With one exception, he didn't handle directly any

19    prostitution proceeds.                   That one exception was done because he

20    was specifically requested by Ms. Wang to accept some money from

21    one of the women.               He indirectly accepted earnings when he paid

22    expenses that were forwarded to him.                               He had no proprietary

23    interest in this operation.                        He was probably the least trusted by

24    the conspiracy leader because he was of a distinctly different

25    cultural and language background.                            He spoke just marginal



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 8 of 29
                                                                                            January 18, 2018 - 8

 1    Mandarin.         That was the language of choice by every one of the

 2    other defendants.               And finally, and probably most importantly, he

 3    was motivated not by money or greed, certainly not by any need or

 4    desire to exploit women, but by the need for emotional and

 5    personal companionship with women.                             These, I think, cast him in a

 6    different light, in a more lenient light, than the other

 7    defendants that have been before the Court.

 8         Because it may be important, he had no sexual relations with

 9    any of these women.                 He was seeking something permanent.                                He may

10    have been looking for love in the wrong places.                                        But that was his

11    primary motivation, was to find a woman.                                  He wanted a wife.                     That

12    may sound absurd to some people, but that's what he wanted.                                                     And

13    this was a way to meet women.                         This was a way to meet women who

14    might be interested in him.                        That was what he got from this.

15         That's essentially my argument on why he is a minor

16    participant.           I mean, I have other comments about the case, if

17    you want to hear them now.

18                  THE COURT:            No, not yet.

19                  MR. NANCE:            Okay.

20                  THE COURT:            Thank you.

21         I'm satisfied that the facts stated in paragraph 14 of the

22    presentence report is sufficient to rule that he did not have a

23    minor role.          It went over a three-year period, he drove numerous

24    prostitutes to brothels, he picked them up at the airports, he

25    was in regular telephone or text communication with Ms. Wang



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 9 of 29
                                                                                            January 18, 2018 - 9

 1    during the course of the conspiracy, he rented apartments, he

 2    rented them in his own name, or leased them.                                     I'm satisfied that

 3    his role was similar perhaps to Mr. Wu's -- W-u is the

 4    spelling -- role, and I don't think he got a minor role.                                               I'm not

 5    about to give him a minor role.

 6         So for purposes of guideline computations, I conclude that

 7    the total offense level is 15, the criminal history category is

 8    I, and the guideline range is 18 to 24 months.

 9         I will hear from the government as to what the appropriate

10    sentence is.

11                  MS. CRISHAM:              Thank you, Your Honor.

12         Your Honor, we're asking for the Court to impose a sentence

13    of six months.             As Your Honor noted, Mr. Thompson has been a part

14    of this conspiracy for a long time.                              He joined in approximately

15    2014, and in some ways he played an even more important role in

16    the conspiracy than Mr. Wu.                        He had several advantages, including

17    the ability to speak English.

18         Contrary to what Mr. Nance suggested, that wasn't a detriment

19    to him in this conspiracy.                       It was a benefit.                 He was able to

20    communicate with customers, which, again, was clear from the text

21    messages that were recovered, showing him drafting out

22    instructions on how to get to a particular apartment that

23    Ms. Wang could then send to customers.

24         He also had a good job and good credit, and that allowed him

25    to rent high-end apartments as residential brothels for the



         Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 10 of 29
                                                                                            January 18, 2018 - 10

 1    organization.             He also furnished these apartments and set up

 2    utilities, including Internet connectivity in them.

 3          And even though Mr. Thompson didn't admit this to the

 4    government in his proffer, and he still seems to be saying this,

 5    his sole motivation in becoming involved in this was not to find

 6    a wife.        Those text messages that were recovered after he had his

 7    proffer show that he actually scouted out potential apartment

 8    locations for Mrs. Wang and that he also received money, a

 9    monthly fee of $700 for each apartment that he rented for her.

10          In scouting locations, Mr. Thompson would take note of

11    whether a particular location would be a good location for

12    prostitution, he would talk about whether there was good parking,

13    whether it would be easy for customers to find, and whether it

14    was located in an area or part of the complex where neighbors

15    wouldn't notice foot traffic.

16          He regularly picked up women at SeaTac, he took them to and

17    from various brothel locations, and he also drove them to the

18    grocery store and on other errands.                               He also purchased supplies

19    in bulk, including condoms, and delivered those to the brothels.

20          Finally, Mr. Thompson picked up prostitution earnings from

21    various locations and handed them over to Ms. Wang.

22          And, again, we believe that the evidence shows that he did

23    financially benefit, and this was part of the reason he became

24    involved.          $700 a month, and we know that he was renting several

25    apartments a month, and $4,000 in cash was found in a



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 11 of 29
                                                                                            January 18, 2018 - 11

 1    hollowed-out book in his apartment.

 2          And that leads me to his sentence.                                The U.S. Attorney's

 3    Office has really struggled with our recommendation here, and

 4    particularly whether

 5

 6

 7

 8

 9

10

11

12                   THE COURT:            So to what extent was he not fully candid

13    and how was he minimizing his role?

14                   MS. CRISHAM:              I think in two different ways.                            We're very

15    concerned about the fact that never, not once during his proffer,

16    did Mr. Thompson ever say that he was making money, a fee, for

17    renting these apartments.                       He said that Ms. Wang would

18    occasionally give him some money to reimburse him for damage to

19    the apartment, but he neglected to mention the $700 per month,

20    per apartment fee, which we know he asked of her because we see

21    it in the text messages and we see him negotiating that with her.

22                   THE COURT:            Did you trace his bank accounts to see how

23    much he had got?

24                   MS. CRISHAM:              Your Honor, we were not able to do that.

25    And it may well be that he was keeping this cash at his home and



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 12 of 29
                                                                                            January 18, 2018 - 12

 1    just simply spending cash rather than depositing it.

 2          But I think it's clear that he wants to portray himself as

 3    someone who was shy, someone who was awkward, someone who did

 4    this to find a woman.                    And while he may have been interested in

 5    romantic possibilities, it's also clear that he was getting

 6    financial benefits from this.                          And so the government is concerned

 7    with, first of all, his refusal to mention this during the

 8    proffer and kind of still sticking to the story during his

 9    statement to the Court.

10          These text messages also make clear that Mr. Thompson wasn't

11    the naive, deliberately ignorant person, which I think is the

12    phrase he uses.               His texts about customers and his attempts to

13    find apartments where foot traffic wouldn't attract attention, as

14    well as his involvement in purchasing items like condoms, make

15    clear that he wasn't just deliberately ignorant.                                          He knew that

16    this organization was involved in prostitution, and he willingly

17    went along with it for years.

18          There were also some disturbing text messages which were

19    included in our exhibit to the Court, where he spoke very

20    disparagingly of some of the women.                               There was one instance where

21    he threatened to throw one woman "out on her ass" if he saw her

22    again.

23          Again, these text messages really contrast with his

24    self-description of himself as someone who was basically harmless

25    and only wanted to find a wife.                            Instead, they show that, just



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 13 of 29
                                                                                            January 18, 2018 - 13

 1    like the other co-defendants, he saw these women as commodities

 2    and was less concerned about their status and why they were in

 3    this situation than what they could do for him.

 4          Given those minimizations and his failure to provide material

 5    information about the financial benefits, we did struggle in my

 6    office whether or not to recommend a sentence that took into

 7    account                                       We ultimately did agree to do so.                                  And,

 8    again, that's

 9

10

11

12          However, we do strongly believe that a term of imprisonment

13    is necessary.             Mr. Thompson is virtually identical to Mr. Wu, who

14    served eight months in prison, with the exception that Mr. Wu was

15    fully candid, so far as we know, during his proffer.                                             And I think

16    allowing Mr. Thompson no time, the sentence that he's requesting,

17    would result in unwarranted sentencing disparity, and it would

18    also reward him for his failure to tell the whole truth.

19          So, Your Honor, that is our position, unless Your Honor has

20    any further questions for me.

21                   THE COURT:            No questions.              Thank you.

22          Mr. Nance.

23                   MR. NANCE:            Our recommendation, Your Honor, is that we

24    ask that you adopt the recommendation made by probation, who is

25    very familiar with Mr. Thompson and his role in this.



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 14 of 29
                                                                                            January 18, 2018 - 14

 1          Essentially, this case is about a decent man's fundamental

 2    need for female companionship overwhelming his better judgment

 3    and his common sense.

 4          Steve Thompson just turned 60 earlier this week.                                           He's 60

 5    years old.           No criminal history.                    He's always been an achiever.

 6    You can go back to his days in high school.                                      One of his old high

 7    school football teammates flew out from North Carolina to be here

 8    today, Randy Angel.                  He keeps long-time friendships because

 9    that's the kind of guy he is.                          He's always been an achiever, he's

10    always worked a full-time job, he's maintained very stable

11    relationships, and generally thought very well of by everyone who

12    knows him and who has worked with him.

13          But he's always been looking for love, and always comes up a

14    little bit short.                And so he got into this conspiracy.                                 As hard

15    as that might be for some folks to accept, he got into this

16    conspiracy, or more like he fell into this conspiracy, because he

17    couldn't resist the opportunity to meet younger women who might

18    be interested in him.                    And he had blinders on for a while.                                This

19    idea of willful blindness or deliberate ignorance -- I may have

20    used that in talking to him once, and that's probably where he

21    got it -- he didn't keep that forever.                                  He was ignoring the

22    obvious, and eventually the obvious became too obvious.                                               And,

23    yeah, he knew what he was doing, and he's acknowledged that.

24    It's in the plea agreement what he did.                                  He stipulated to that.

25    And he doesn't deny that.                       He's never really denied that.



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 15 of 29
                                                                                            January 18, 2018 - 15

 1          It was never, though, about deliberately exploiting women.

 2    If you had asked him in the moment, he would have said, "Well,

 3    I'm being nice to these women.                           I'm helping them.                  I'm being nice

 4    to them.         I'm treating them with decency and with respect."                                               He

 5    never had sexual relations with any of these women.                                            That wasn't

 6    what he was looking for.                      He did take them shopping.                         He tried to

 7    be nice to them.                And his perception was they liked him.                                  They

 8    really appreciated a man being nice to them without wanting

 9    something in return.

10          Financial gain was certainly not his first motivation, not

11    his goal.          He had this good-paying job.                          He didn't need the few

12    dollars that this could have gained him, if it did at all.                                                  The

13    government has made a big deal of him not being forthcoming, and

14    it seems to relate to this idea that he was making all of this

15    secret money on the side that he didn't tell them about.                                                We

16    really take issue with that.                         He confessed his involvement, the

17    essence of his involvement.                         After he was arrested, he told the

18    police he knew that he was part of this operation.

19          After I began representing him, we met with the government,

20    as quickly as we could arrange something, to give a proffer.

21    From the outset,

22

23

24

25



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 16 of 29
                                                                                            January 18, 2018 - 16

 1

 2          The government certainly knew about the $4,200 that they had

 3    received, that they recovered in cash from his house.                                              If it was

 4    such a big issue, why wasn't he asked about it?                                         He didn't tell

 5    any fibs in that proffer.                       And he would have answered the

 6    questions.           He also gave answers that for any man, and for him

 7    for sure, were deeply embarrassing.                               Deeply personal, deeply

 8    embarrassing information that he told about himself in this

 9    proffer.

10

11

12

13

14

15

16

17

18

19

20

21

22          The government, Ms. Crisham, indicated that his English was

23    such an asset.              Perhaps it was, but there was no direct contact

24    with customers.               He didn't screen customers.                         He didn't send

25    customers texts.                He did not purchase condoms or wipes.                                 That did



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 17 of 29
                                                                                            January 18, 2018 - 17

 1    not happen.           At most --

 2                   THE COURT:            Well, just a moment.                    Isn't that a fact

 3    that's in the presentence report?

 4          Well, I don't see it in paragraph 14.                                  Well, let's take a

 5    look at -- all right.                    It's not in 14.

 6                   MR. NANCE:            Yeah.        The closest he might have come to

 7    that would have been to agree to transfer a package remaining

 8    unopened.          It could have contained anything.                              It could have.                 But

 9    he didn't wittingly provide condoms or wipes to anyone at any

10    time.

11          There was a reference to this disparaging remark he made in a

12    text about this Taiwanese woman.                             I think the word "pig" may have

13    been used.           I don't have it in front of me.                             He can't deny the

14    text, but the text referred to this particular woman who had

15    trashed an apartment with his name on it, that he personally had

16    to come in afterwards and clean up.                               It took him three hours to

17    clean up the pigsty that she had created there, everything from

18    destroying furniture to flushing chicken bones down the food

19    disposal.          So that was the reference there.                              It was said in anger

20    and irritation at what had happened there.                                     That's what that was.

21    He saw her later, and he was over the irritation.                                           So I don't

22    think you can take that one sample and say he therefore has this

23    disparaging attitude toward women.                              That's not the way he viewed

24    himself at all.

25          Regarding the fee that, again, the government has continued



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 18 of 29
                                                                                            January 18, 2018 - 18

 1    to fix on, I was re-reading their memorandum.                                       They cited that

 2    example, that same example, about five or six times in their

 3    memorandum.           There was some texting from Mr. Thompson to Fang

 4    Wang that referenced a fee, and it was in the neighborhood of 500

 5    or 700 dollars.               What he was trying to do was build up what he

 6    thought of as an insurance cash reserve to pay for damages that

 7    he thought could happen to these apartments that were in his

 8    name.       I mean, one example was the Taiwanese woman who trashed

 9    things.        Who pays for that?                   Mr. Thompson had to pay for it.

10    It's his apartment.                  He has to pay the damages.                         And so in order

11    to make it clear to Ms. Wang, he just called it a "fee."                                                But it

12    was essentially an amount that he was trying to save, so that in

13    the end -- and he would pay expenses out of that as well.

14          Again, he wasn't making any money at this.                                      And if you did a

15    quick ledger check, if that were possible to do, at most he's up

16    a few hundred over the course of two and a half years, two years.

17    So there was really very little about that to report to the

18    agents or to volunteer to the agents.                                 If they had asked him

19    about it, he would have talked about it.                                   So it just seems unfair

20    to say he wasn't fully cooperative because he didn't volunteer

21    something that he didn't think was that significant.

22          The government, we believe, has such a different view of his

23    actions, but it doesn't understand the Steven Thompson that his

24    family understand and that his friends know.                                      I would refer you

25    briefly to the letters, the various letters, that have come out.



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 19 of 29
                                                                                            January 18, 2018 - 19

 1    In fact, two folks are here.                         Mr. Angel is here from North

 2    Carolina, a trusted friend.                         A couple of the things that stood

 3    out in the letter to me:                      Steven Thompson "is of the highest

 4    stock," he says.                "Selfless."            He would do anything for a friend.

 5    "He would take a bullet for me."

 6          He also would have insight into this notion of why Steve

 7    Thompson would have $4,000 in cash at his place.                                          He has a

 8    long-time habit of squirrelling away money.                                      That's just the way

 9    he rolls.

10          Also present is Hong Duong, his close friend.                                         She is leasing

11    him a room now.               Mr. Thompson is the godfather of her

12    seven-year-old daughter.                      She described him as positive, with a

13    caring attitude.

14          Then you have got letters from his brother and sister who

15    care a lot about him as well.                          He's loyal, he's a good caregiver,

16    a thoughtful listener, and a provider.

17          And then there are the people actually within the court

18    system that have actually taken time, spent time with

19    Mr. Thompson, beginning with probation.                                  Brieanne Olsen, the

20    probation officer, has made a thoughtful recommendation.                                                He was

21    supervised for seven or eight months by Pretrial Officer Mark

22    Okano, who, I think, is -- here he is -- here to show his

23    support.         His conduct on pretrial supervision was exemplary.                                              And

24    you can bet if he remained in the community working at his job at

25    Home Depot, it would continue.



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 20 of 29
                                                                                            January 18, 2018 - 20

 1          There's no one, even directly from the government, that

 2    thinks that Steven Thompson, if he's allowed to remain in the

 3    community, is going to get back into mischief again or going to

 4    commit any new offenses.                      It's just highly, highly unlikely, very

 5    remote, that that would happen.

 6          He is deeply chastened, I believe deeply remorseful, in a way

 7    that is unusual.                I was watching the last sentencing here where

 8    you asked the defendant, "How many times have you given that

 9    little thing about, 'Oh, I'm so sorry.                                  I'm so sorry, Your

10    Honor'"?         And we have all heard it.                        I have heard it a hundred

11    times, and you have probably heard it a thousand times.                                               It's

12    commonplace.            But the remorse that you're likely to hear from

13    Steven Thompson, I believe, is deep, it's genuine.                                           He's not just

14    sorry that he was caught.                       He's sorry.             He is regretful for the

15    lives of these women.                    He feels very badly about that.                             And he

16    feels very badly, remorseful, that his attempts at kindness to

17    these women might have in some way helped further facilitate and

18    perpetrate, perpetuate this conspiracy.                                  He feels very bad about

19    that.       He feels embarrassed about it.                            That's not really who he

20    sees himself as being.                    He is sorry that he has disappointed his

21    friends.         He's sorry that he has disappointed his family.                                          I

22    think, ultimately, he's sorry that he disappointed himself in

23    this.

24          I would urge you to take a very hard look at the

25    recommendation that is being made here, and it is a



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 21 of 29
                                                                                            January 18, 2018 - 21

 1    recommendation of time served.                           He has had just a taste of jail,

 2    he knows he never wants to go back there again, and the odds of

 3    it ever needing to happen are zero.                               He wants to keep his life

 4    post-Microsoft in an upward trajectory.                                  He's taken a job.                  He's

 5    doing a responsible job now at Home Depot.                                     He's doing well.

 6    He's on the road to management there.                                 He would like to stay

 7    there.       He would like to be kept in the community.

 8          We would urge the Court to adopt the recommendation of

 9    probation, give him a time-served sentence, perhaps restrict him

10    to location monitoring for a few months, with permission for

11    release to go to a job or to other court-approved errands.

12          So that's our recommendation.                            I know Mr. Thompson wants to

13    address you.            Mr. Angel has told me he's waiting in the wings and

14    available to talk about, if the Court wants to hear it, anything

15    about Mr. Thompson's propensities to squirrel money away or to

16    provide further character.                        He's known him a long time.                         They

17    played football together in high school, and they have been close

18    friends since then.

19                   THE COURT:            All right.            I will hear from the defendant.

20                   MR. NANCE:            Thank you.

21                   THE DEFENDANT:               Thank you.

22                   THE COURT:            Good afternoon, sir.

23                   THE DEFENDANT:               I prepared a letter, as best that I

24    could, which attempted to explain my involvement and the depths

25    of my regret, and I'll stand with that.                                  I don't want to just



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 22 of 29
                                                                                            January 18, 2018 - 22

 1    repeat the points and take up time doing that.                                        Mr. Nance has

 2    done a good job in the last few minutes.

 3          The main thing that I want to say is that I am sorry in the

 4    deepest way, and as Mr. Nance said, I'm not sorry because I got

 5    caught.        The sources of my sorrow are deep.                                I will just name two

 6    or three quickly.

 7          I was raised in a good home, and my parents instilled proper

 8    values in me.             I know the difference between right and wrong.

 9    There's no question.                   And I was wrong, and I admit it.                              And I'm

10    embarrassed.            I feel terrible about it.                        I'm full of regret.

11          Additionally, this case has put me on the opposite side of

12    institutions which I respect and admire and have my whole life:

13    law enforcement, the police, the FBI, the justice system, of

14    course, the military.                    Those are institutions that I support.

15    I'm on that side.                And now I suddenly find myself on the other

16    side.       I will regret that for the rest of my life.

17          And I have embarrassed myself in front of my younger sister

18    and younger brother, and that's the worst thing that I've ever

19    gone through.             There was never any criminality in my life.                                       This

20    came as a shock to the people that have been brought into it.

21    But I can assure you that this will never happen again.                                               I will

22    never again have to stand in front of my sister and my brother

23    and explain and apologize for bad behavior.

24          I thank my friend Randy and my best friend Hong for standing

25    with me.         Randy traveled all the way here from North Carolina.                                            I



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 23 of 29
                                                                                            January 18, 2018 - 23

 1    can assure you that there will never again come a time when I

 2    stand in front of those fine people and have to tell them

 3    something like this.                   It's not going to happen.

 4          I am sorry.             And I regret -- I feel tremendous sorrow for the

 5    ladies that were involved in this.                              I never intended to hurt

 6    anyone and never saw myself as hurting anyone.

 7          I regret the outburst that the prosecution has correctly

 8    framed in the text message, but I would say that that was a few

 9    minutes of passion about being upset about that apartment having

10    been trashed and broken and having to spend all that time.                                                  And

11    I said what I said, but I would submit that that is the only time

12    that I have ever -- I have never talked like that about another

13    person.        I have never sent another message like that, certainly

14    not within this case or outside of this case.                                       That's not the way

15    I am.

16          The people that I associated with in this case, I have no

17    doubt that they liked me.                       I know they enjoyed my company.                             And

18    as Mr. Nance said, and I believe I included it in my letter, I

19    now deeply regret that my help and assistance may have caused

20    even one of those ladies to stay in that business longer than

21    they might have otherwise.                        I might have made it more tolerable

22    for them.          I regret that.

23          Now I think I would probably just be going in circles, so I'm

24    going to stop and just say once again that I'm sorry, I apologize

25    to everyone involved, the court, my friends, my family, to you,



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 24 of 29
                                                                                            January 18, 2018 - 24

 1    Judge, to everyone.                  I apologize.             I'm sorry.

 2                   THE COURT:            All right.            Let me ask you, Mr. Thompson,

 3    were you present during the earlier sentencings?

 4                   THE DEFENDANT:               Yes, sir.

 5                   THE COURT:            All right.            So you have heard everything

 6    that I had to say before.                       I won't repeat it in detail.

 7          But for the record, and I will start with what you have said

 8    and what your lawyer has said, and what I think is true, there's

 9    no question in my mind that you're deeply remorseful, you are

10    sorry.       I'm sure that you will never stand in front of another

11    judge and be sentenced for anything again.                                     That's all true.                  And

12    from the review of your history and the like, you had a fine

13    upbringing, you had a wonderful job at Microsoft, you had never

14    been convicted of anything.                         All of these are factors that I have

15    to take into account.

16          But I also have to look at the nature and extent of your

17    involvement in this multi-defendant prostitution ring that

18    Ms. Wang was organizing.                      You may have, when she approached you

19    first in that coffee shop, thought that she would be someone you

20    could be friends with, but it is clear this prostitution ring

21    lasted, that we know of, for almost three years, and you played

22    an important role, such a role that I concluded you were not a

23    minor player because of all the reasons the prosecution has

24    indicated.           But you did speak English clearly, that's your native

25    language, and you did rent various apartments that were used for



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 25 of 29
                                                                                            January 18, 2018 - 25

 1    prostitution, and you knew that that's what they were going to be

 2    used for.          And you even made recommendations and scouted out some

 3    of these and said, "This is a good location; this is not so

 4    good."       You got money, a fee, for some of these locations.                                             And

 5    whether it was a maintenance fund, or whatever, to fix up any

 6    problems -- I don't know why you were getting money -- it's clear

 7    that you did receive financial benefit.                                  And the text messages,

 8    I've read, and some of them are troubling because they reflect

 9    someone who is giving Ms. Wang information about how she can do

10    this prostitution ring better.

11

12

13

14

15                                                                                                              You

16    heard me sentence him to time served, which was eight months,

17    because he's been in custody.

18          I'm satisfied that a requirement that you go to jail is

19    necessary.           This is a serious offense, and it went on for a long

20    period of time, and I would be remiss as a judge, in my opinion,

21    if I did not require you to go to prison and reflect on what you

22    have done.

23          What we have here is a guideline range of 18 to 24 months.

24    Now, these guidelines don't bind me, and I'm not going to send

25    you to jail for 18 to 24 months, but that's the range that people



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 26 of 29
                                                                                            January 18, 2018 - 26

 1    committing the crime that you committed, as an average, have been

 2    sentenced over the years.                       So it gives us some indication of

 3    what's appropriate.

 4          Well, you have cooperated.                         You don't have a prior arrest

 5    record like Mr. Jefferson.                        I don't know if you were here for

 6    him, but he's got enough for all of us.                                  I'm satisfied that,

 7    under all the circumstances, a sentence of eight months, which is

 8    essentially what I gave Mr. Wu, is necessary, but not longer than

 9    necessary.

10          It will therefore be the judgment of this Court that this

11    defendant be committed to the custody of the Bureau of Prisons

12    for a period of eight months.                          I think anything less would be a

13    disparate sentence.                  I need to look at all of the people in the

14    conspiracy and attempt to arrive at some reasonable sentence that

15    reflects a similarity to the nature of your involvement.                                                And as

16    best I can tell, you were involved equally with Mr. Wu in what

17    you did, and that type of a disparity is not appropriate.

18          Therefore, it will be the judgment of the Court that you are

19    committed to the Bureau of Prisons for a period of eight months,

20    followed by a period of two years of supervised release, subject

21    to each of the standard conditions as well as each of the special

22    conditions that were recommended by probation.                                        I will waive the

23    fine.       I find you don't have the ability to pay a fine.                                          I will

24    assess the $100 special assessment.                               And I'll conclude that

25    because of your financial affairs that I will not impose the



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 27 of 29
                                                                                            January 18, 2018 - 27

 1    sentence under the JVTA.

 2          I assume that you're going to be placed at SeaTac, and I'm

 3    going to let you self-report.                          If you have a request for a

 4    placement somewhere else, I will make it, but the Bureau of

 5    Prisons is going to decide where you go.

 6          Do you want a recommendation on placement?

 7                            (Mr. Nance and the defendant confer.)

 8                   THE COURT:            The nearest is Camp Sheridan.                            But you tell

 9    me.

10                   MR. NANCE:            If I could have 30 seconds, Your Honor?

11                             (Mr. Nance and the defendant confer.)

12                   THE COURT:            Okay.        Your 30 seconds is up.                      And mine is

13    only a recommendation in any event, and the Bureau is going to

14    decide.        And most likely they're going to put you at SeaTac.

15          But do you want a recommendation?

16                   MR. NANCE:            Yes.       We would ask the recommendation to

17    be --

18                   THE COURT:            Camp Sheridan?

19                   MR. NANCE:            -- to FDC Sheridan.

20                   THE COURT:            All right.            Let's put that in the judgment.

21          And I will advise you, Mr. Thompson, that to the extent you

22    haven't waived your rights to appeal the sentence, any appeal

23    must be filed within 14 days of the time I sign the judgment,

24    which I'm going to do today.

25          And I want to tell you and advise you that I'm going to



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 28 of 29
                                                                                            January 18, 2018 - 28

 1    continue the same conditions of release pending your placement.

 2    What happens is you will get notified by probation of where and

 3    when to report.               And it's up to you, if you get placed at

 4    Sheridan, that you get yourself down there on your own prior to

 5    the time that they told you to report.                                  And the probation officer

 6    can help you understand exactly what your requirements are.                                                      But

 7    you will be under the Court's supervision until you report.

 8          And let me ask you this, if you wanted to report earlier --

 9    the reporting is probably going to be two or three months away?

10                   MS. OLSEN:            I think it's four to six weeks.

11                   THE COURT:            I'm sorry?

12                   MS. OLSEN:            It's four to six weeks.

13                   THE COURT:            Four to six weeks until he has to report?

14                   MS. OLSEN:            I'm going to --

15                   MR. OKANO:            Typically, Your Honor -- Mark Okano with

16    Pretrial Services -- typically it's about 45 days before we get a

17    designation from the Bureau of Prisons.

18                   THE COURT:            Forty-five days to get the designation.                                      And

19    then how much time do they give him to report?

20                   MR. OKANO:            Typically two weeks.

21                   THE COURT:            Two weeks.            So we're talking two months.

22                   MR. OKANO:            But the option is there.                       If they do want to

23    report early, they can.

24                   THE COURT:            Yes.

25          So the question is whether you wanted to report early.                                                If



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
     Case 2:17-cr-00135-TSZ Document 317 Filed 09/25/18 Page 29 of 29
                                                                                            January 18, 2018 - 29

 1    you did, just to start it and get it over with, then you should

 2    work with pretrial services and probation and see if they can

 3    arrange for you to do that.

 4          All right.            Any objections to the form?

 5                   MR. NANCE:            No, Your Honor.

 6                   THE COURT:            I have signed the judgment.                          It will be

 7    filed.

 8          Anything further to come before the Court today?

 9                   MS. CRISHAM:              Not from the government, Your Honor.

10                   MR. NANCE:            Not from the defense.

11                   THE COURT:            We will be in recess.

12                                                   (Adjourned.)

13

14                                           C E R T I F I C A T E

15

16            I, Nickoline M. Drury, RMR, CRR, Court Reporter for the

17    United States District Court in the Western District of

18    Washington at Seattle, do certify that the foregoing is a correct

19    transcript, to the best of my ability, from the record of

20    proceedings in the above-entitled matter.

21

22

23                                             /s/ Nickoline Drury

24                                             Nickoline Drury

25



          Nickoline Drury - RMR, CRR - Federal Court Reporter - 700 Stewart Street - Suite 17205 - Seattle, WA 98101
